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                               Exhibit 52



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                                                           Page 604
                   UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF MASSACHUSETTS

    - - - - - - - - - - - - - - -

    IN RE:    PHARMACEUTICAL       ) MDL NO. 1456

    INDUSTRY AVERAGE WHOLESALE     ) CIVIL ACTION

    PRICE LITIGATION               ) 01-CV-12257-PBS

    THIS DOCUMENT RELATES TO       )

    U.S. ex rel. Ven-a-Care of     ) Judge Patti B. Saris

    the Florida Keys, Inc.         )

         v.                        ) Chief Magistrate

    Abbott Laboratories, Inc.,     ) Judge Marianne B.

    No. 06-CV-11337-PBS            ) Bowler

    - - - - - - - - - - - - - - -

              (captions continue on following pages)




               Videotaped deposition of LARRY REED

                            Volume III



                               Washington, D.C.

                               Tuesday, March 18, 2008

                               9:00 a.m.




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                                                                           Page 605
  1                         IN THE CIRCUIT COURT OF
  2                       MONTGOMERY COUNTY, ALABAMA
  3   - - - - - - - - - - - - - - -
  4   STATE OF ALABAMA,                         )
  5                    Plaintiff,               )
  6          vs.                                )    Case No. CV-2005-219
  7   ABBOTT LABORATORIES, INC.,                )    Judge Charles Price
  8   et al.,                                   )
  9                    Defendants.              )
10    - - - - - - - - - - - - - - -
11

12

13             IN THE CIRCUIT COURT OF THE FIRST CIRCUIT
14                                STATE OF HAWAII
15    - - - - - - - - - - - - - - -
16    STATE OF HAWAII,                          )
17                     Plaintiff,               )    Case No.
18           vs.                                )    06-1-0720-04 EEH
19    ABBOTT LABORATORIES, INC.,                )
20    et al.,                                   )    JUDGE EDEN
21                     Defendants.              )    ELIZABETH HIFO
22    - - - - - - - - - - - - - - -


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                                                                           Page 659
  1
                      MR. WINGET-HERNANDEZ:              Objection, form.
  2
               A.     There could be instances where the
  3
      costs of dispensing would be different -- the
  4
      costs of dispensing as determined by some studies
  5
      may be different than what would be in a state's
  6
      plan as a dispensing fee.                 But that didn't
  7
      necessarily mean that that dispensing fee was not
  8
      reasonable.
  9
               Q.     And why would that be?
10
               A.     Because the regulations -- and again,
11
      we have to live by the regulations so that's what
12
      I need to keep referring back to -- didn't say
13
      that reasonable meant it had to be the actual
14
      costs of dispensing.              It could be determined on
15
      things like what other parties paid for that cost
16
      of dispensing, what other states paid for that
17
      cost of dispensing.
18
               Q.     And could it also not consider the
19
      profit being paid on the ingredient side?
20
               A.     Under the federal regulations it could
21
      not.
22
               Q.     How about in the real world, could it?

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                                                                           Page 683
  1
      reimbursements and drug purchase costs?
  2
               A.     -- is that what you're telling me.
  3
               Q.     I'm trying to read the sentence and see
  4
      if you agree.          It appears to be talking about
  5
      drug purchase costs to me.                 That's not how you
  6
      read it?
  7
               A.     Again, I'm simply not sure, because
  8
      when I skimmed through this earlier, if I can go
  9
      back to page 2, the first partial paragraph,
10
      "Because our study compared purchase prices to
11
      Medicaid reimbursements, it did not include the
12
      pharmacies' cost to dispense specific drugs or
13
      the state's reimbursements for dispensing costs."
14
                      So with that statement in mind, I'm not
15
      sure whether they're talking that Medicaid
16
      reimbursement is ingredient costs only.
17
               Q.     You've referred a number of times to
18
      the regulatory requirements when talking about
19
      what Medicaid programs are required to pay for
20
      drugs; is that right?
21
               A.     That's correct.
22
               Q.     And you would agree with me that

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                                                                           Page 684
  1
      there's no regulatory or statutory requirement
  2
      anywhere that prohibits a state from paying a
  3
      margin on ingredient cost reimbursement for a
  4
      particular drug, correct?
  5
                      MS. MARTINEZ:          Objection, form.
  6
               A.     No.    I don't think I could agree with
  7
      that.      The ingredient cost would be under the
  8
      regulation the EAC.             And if I can go a little bit
  9
      farther, I think we do have an upper limit that
10
      would be based partially on the EAC or the
11
      payment or the pharmacy's usual and customary
12
      charge.
13
               Q.     Let's take out the FUL requirement.
14
      Putting that aside, for drugs that do not have a
15
      FUL you would agree with me that there is no
16
      regulatory or statutory requirement anywhere that
17
      prohibits a state from paying a margin on the
18
      ingredient cost reimbursement for a particular
19
      drug?
20
                      MS. MARTINEZ:          Objection, form.
21
               A.     And are you talking the ingredient cost
22
      alone?

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                                                                           Page 693
  1
      statement.
  2
               Q.     And let me see if I understand your
  3
      previous testimony correctly.                   Is it your
  4
      testimony that under the federal regulations a
  5
      state Medicaid program is not permitted to
  6
      subsidize insufficient dispensing fees with
  7
      excess payments being made on the ingredient
  8
      side?
  9
                      MS. MARTINEZ:          Objection, form.
10
               A.     That's not quite what the federal
11
      regulations require.              The federal regulations
12
      require a reasonable dispensing fee and a
13
      reasonable determination of the estimated -- of
14
      the ingredient cost.
15
               Q.     Let me try my question again.                    Is it
16
      your testimony that under the federal regulations
17
      a state may not subsidize insufficient dispensing
18
      fees with the margin on the ingredient cost side?
19
                      MS. MARTINEZ:          Objection, form.
20
               A.     We would not -- I don't know what a
21
      state might have in its own mind in submitting a
22
      state plan amendment, but we would not approve a

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                                                                           Page 694
  1
      state plan amendment that cross-subsidized
  2
      dispensing fees with an excess of ingredient
  3
      costs.
  4
               Q.     You believed that that would violate
  5
      federal regulations, correct?
  6
               A.     Correct.
  7
               Q.     And if a state deliberately did that,
  8
      cross-subsidized insufficient dispensing fees
  9
      with the margin on ingredient costs, you believe
10
      that they were violating federal regulations;
11
      isn't that right?
12
                      MS. MARTINEZ:          Objection, form.
13
               A.     And again, I can't say what a state in
14
      its own determination would be doing.                        But when
15
      they would present that state plan to us it would
16
      have to be a reasonable dispensing fee and a
17
      determination of ingredient cost.
18
               Q.     If a state official testified that he
19
      or she deliberately cross-subsidized insufficient
20
      dispensing fees with a margin on ingredient cost,
21
      would you believe that that individual was
22
      violating federal regulations?

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